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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

JEANETTE VENTRONE,    ET AL.,             )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        )   No. 4:22-CV-00513-RWS
                                          )
WEBSTER UNIVERSITY,                       )
                                          )
      Defendant.                          )

      PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS
                    AND MEMORANDUM IN SUPPORT

      COME NOW Plaintiffs, Jeanette Ventrone, Angela Williams, Phoenix

Pereira, Rameak Smith, April Moore and Ashlee Bacon Cantrell, for their

Response to Defendant, Webster University’s Motion to Dismiss (Doc. 12) and its

Memorandum in Support (Doc. 13) and respectfully submit the following:

I.    INTRODUCTION

      Plaintiffs’ Motion to Remand this case, which was “snap removed” one day

before the Defendant was served, remains pending.

II.   THE STANDARD FOR DISMISSAL

      The standard for dismissal under Fed. R. Civ. P. 12(b)(6) is whether the

Complaint states sufficient factual matter, accepted as true, to state a claim for

relief that is plausible on its face. A claim is plausible when the Plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. Christopherson v. Bushner, 33

F.4th 495, 499 (8th Cir. 2022).



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         The Petition (Complaint) alleges that Webster University engaged in trade

or commerce within the State of Missouri by offering for sale, and selling,

educational programs, including mental health counseling programs, from its

principal office and campus in St. Louis County, Missouri (¶30).         Webster

University acted through its employees and agents, including but not limited to

Dr. O’Brien, Dr. Stacy Henning, Dr. Musangali, Allison Labaali and Molly Stehn

(¶19).

         The Complaint alleges that Webster University represented that its mental

health program was accredited by the Council for the Accreditation of Counseling

and Related Educational Programs (“CACREP”).               As a result of that

representation, Plaintiffs enrolled in four (4) nine (9) week terms between August

2020 and July 2021 and paid about $23,000 in tuition for each Plaintiff, for a

total of $138,000. Defendant, through its agents, represented that Defendant’s

accreditation with CACREP was fine. Relying on these representations, Plaintiffs

paid tuition of more than $138,000. Plaintiffs would not have enrolled in any of

the four (4) nine (9) week terms if they had known the mental health program

was not CACREP accredited (¶11).

         The Petition alleges common law fraud in Count I and violations of the

Missouri Merchandising Practices Act in Count II.

III.     PLAINTIFFS’ CLAIMS ARE NOT BARRED BY THE EDUCATIONAL
         MALPRACTICE DOCTRINE

         Defendant cites Blake v. Career Education Corporation, 2009 WL 2567011,

at *2 (E.D. Mo. August 18, 2009) at p.3 of its Memorandum in Support. In Blake

v. Career Education Corporation, the court denied the Motion to Dismiss a class
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action against Sanford Brown College, ruling that the Educational Malpractice

Doctrine did not apply to representations in the sale of criminal justice degree

programs. The plaintiffs were deceived by misrepresentations that led them to

believe that the associate and bachelor criminal justice degrees from Sanford

Brown College were valuable when in fact they had little or no practical value in

the real world.   The court distinguished the cases which have applied the

Educational Malpractice Doctrine, stating that an Educational Malpractice claim

generally requires a comprehensive review of a myriad of educational and

pedagogical factors, as well as administrative policies, to determine whether an

adequate education was provided.

      In Blake v. Career Education Corporation, the quality of the educational

services was not at issue. The issue was whether the degrees for the programs

that were being sold had any value, not the quality of the educational services.

Defendant also relies on Dallas Airmotive, Inc. v. FlightSafety Int’l, Inc., 277

S.W.3d 696, 700 (Mo.App. W.D. 2008), which granted summary judgment in a

case claiming that the educational services provided by a flight training school

were inadequate. The court stated that if a negligence claim raises questions

concerning the reasonableness of the educator’s conduct in providing

educational services, then the claim is one of educational malpractice.

      In the case at bar Plaintiffs do not challenge the quality or reasonableness

of the educational services that were provided, but instead allege that it was

represented that the mental health program was accredited by CACREP when in




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fact, it was not, and that Plaintiffs would not have paid $138,000 in tuition if

they had known the program was not accredited.

      Soueidan v. St. Louis University, 926 F.3d 1029, 1034 (8th Cir. 2019), cited

by Defendant, concerned a doctoral student’s claim that below standard

educational services provided in a post-graduate program prevented him from

passing the examination required to obtain a Ph.D. degree. The Eighth Circuit

noted that the Educational Malpractice Doctrine bars claims concerning the

reasonableness of the educator’s conduct in providing educational services. Id.

      Defendant also cites Raimo v. Washington University in St. Louis, 2022 WL

796239, at *5 (E.D. Mo. March 16, 2022) at p.2 of its Memorandum (Doc. 13).

Raimo v. Washington University in St. Louis compared the value of in-person

learning with online learning. The court found that the Educational Malpractice

Doctrine applied because it required the court to weigh the difference between

educational services provided online and educational services provided in-

person.

      The Educational Malpractice Doctrine does not apply to the case at bar

because Plaintiffs are not challenging the reasonableness or quality of the

educational services that were provided, but instead claim they were misled and

deceived by the representation that they mental health program was accredited

by CACREP, when in fact it was not. Plaintiffs would not have paid the tuition

and taken the mental health program courses if they had known the program

was not accredited by CACREP.




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IV.    COUNT III STATES A CLAIM FOR VIOLATION OF THE MISSOURI
       MERCHANDISING PRACTICES ACT

       Defendant argues that Count II of the Petition fails to state a claim for

violation of the Missouri Merchandising Practices Act because it does not allege

that Defendant’s conduct was in or from the State of Missouri, and does not

allege that the mental health program was for personal, family or household

uses. Kerr v. Vatterott Educational Centers, Inc., 439 S.W.3d 802, 811 (Mo.App.

W.D. 2014) ruled that whether a nursing degree was obtained for commercial

purposes or for personal, family or household purposes was for the jury to

decide, thereby permitting a claim under the Missouri Merchandising Practices

Act.   The court affirmed a jury verdict of $27,696.96 in actual damages,

$2,078,679.80 in punitive damages and $388,059 in attorneys’ fees under the

Missouri Merchandising Practices Act.

       Instead of attempting to distinguish Kerr v. Vatterott Educational Centers,

Inc., Defendant cited Reynolds v. Concordia University, 2022 WL 1323236, *17

at p.8 of its Memorandum (Doc. 13), a Minnesota District Court case applying

Oregon law. Even Oregon law considers whether the product or service that was

sold is for commercial resale.    Id.   Obviously, any degree of higher learning

includes a very personal component, and is not a commercial product that can

be resold.

       Next, Defendant argues that the mental health program was not sold in or

from Missouri and therefore the Missouri Merchandising Practices Act does not

apply. Paragraph 30 of the Petition alleges that Defendant sold the mental health

program from its principal office and campus in St. Louis County, Missouri.
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Paragraph 19 alleges that the false representations that the program was

accredited by CACREP were made by Dr. O’Brien, Dr. Stacy Henning, Dr.

Musangali, Allison Labaali and Molly Stehn.

      Instead of addressing these factual allegations, Defendant cites Hale v.

Emerson Electric Company, 942 F.3d 401, 404 (8th Cir. 2019) which involved an

attempt to certify a nationwide class action of vacuum sweeper purchasers. The

court held that the Missouri Merchandising Practices Act did not apply to

consumers where the commerce did not occur in or from the State of Missouri.

In the case at bar, the mental health program was sold from Defendant’s offices

in St. Louis County, Missouri.

      Defendant also cites (Defendant’s Memorandum, p.6) Barker v. Nestle

Purina Petcare Company, 2022 WL 1288355, at *3 (E.D. Mo. April 29, 2022)

which held that the Missouri Merchandising Practices Act was not violated by

the sale of dog food in Georgia. There was no claim that false representations

were made from within the State of Missouri to the plaintiffs through direct

communications, in contrast to the allegations in the Complaint at issue in the

case sub judice.

V.    CONCLUSION

      FOR THE FOREGOING REASONS, Plaintiffs, Jeanette Ventrone, Angela

Williams, Phoenix Pereira, Rameak Smith, April Moore and Ashlee Bacon

Cantrell, respectfully submit that this case should be remanded, and in the event

the Court rules otherwise, then the Motion to Dismiss should be denied.




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                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies a true copy of the foregoing was filed
electronically with the Clerk of this Court, the Clerk will electronically serve all
parties of Record, and a copy was served via email, this 16th day of June, 2022,
on the following:

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